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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                __________________________

KEVIN WILLIAM CASSADAY,

                 Plaintiff,                                               Case No. 1:21-CV-760

v.                                                                        HON. GORDON J. QUIST

RONALD WEISER, et al.,

            Defendants.
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                 ORDER ADOPTING REPORT AND RECOMMENDATION

        On September 27, 2021, U.S. Magistrate Judge Phillip J. Green issued a Report and

Recommendation (R & R), recommending that the Court dismiss Plaintiff’s complaint for failing

to state a claim. (ECF No. 7.) The Court has reviewed the R & R. 1 No objections have been filed

pursuant to 28 U.S.C. § 636(b). Accordingly, the Court will adopt the R & R.

        THEREFORE, IT IS HEREBY ORDERED that the September 27, 2021, Report and

Recommendation (ECF No. 7) is approved and adopted as the Opinion of the Court.

        IT IS FURTHER ORDERED that Plaintiff’s complaint is DISMISSED for failing to

state a claim.

        IT IS FURTHER ORDERED that, for the reasons set forth in the R & R, the Court finds

that any appeal would not be taken in good faith.

        A separate judgment will enter.


Dated: November 24, 2021                                          /s/ Gordon J. Quist
                                                                 GORDON J. QUIST
                                                           UNITED STATES DISTRICT JUDGE


1
  This case was initially assigned to U.S. District Judge Paul L. Maloney. On November 5, 2021, the case was
reassigned to the undersigned under Local Rule 3.3.2(b). (ECF No. 8.)
